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                 United States District Court
      -------------------------- DISTRICT OF KANSAS----------------------------

MIGUEL COCA, and ALEJANDRO
RANGEL-LOPEZ,

                       Plaintiffs,

v.                                                 Case No: 22-1274-EFM

CITY OF DODGE CITY, KANSAS,

                       Defendant,



                         JUDGMENT IN A CIVIL CASE
☐      Jury Verdict. This action came before the Court for a jury trial. The issues have been
       tried and the jury has rendered its verdict.

☒      Decision by the Court. This action came before the Court at a bench trial. The issues
       have been considered and a decision has been rendered. IT IS ORDERED


        that pursuant to the Memorandum and Order, Doc. 216, filed on July 10, 2024, judgment
is entered in favor of Defendant City of Dodge City, Kansas.


This case is closed.




_July 10, 2024     ______                          SKYLER O’HARA
     Date                                          CLERK OF THE DISTRICT COURT

                                                   by: _s/ Cindy McKee__________
                                                           Deputy Clerk
